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       4:08-cv-08000 Document     1-2 Filed
                              506-2     Filed05/13/19
                                              05/13/19 Page
                                                        Page1 1ofof4 4




            EXHIBIT 2
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 Case4:19-cv-00036-BMM  Document
       4:08-cv-08000 Document     1-2 Filed
                              506-2     Filed05/13/19
                                              05/13/19 Page
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 Case4:19-cv-00036-BMM  Document
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                              506-2     Filed05/13/19
                                              05/13/19 Page
                                                        Page3 3ofof4 4
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 Case4:19-cv-00036-BMM  Document
       4:08-cv-08000 Document     1-2 Filed
                              506-2     Filed05/13/19
                                              05/13/19 Page
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